Case 3:20-cv-05218-JBD          Document 33-6   Filed 02/11/22   Page 1 of 1 PageID: 481



John Rue (047032005)
John Rue & Associates, LLC
40 S. Fullerton Ave., Ste. 29
Montclair, New Jersey 07042
(862) 283-3155
Attorneys for Plaintiff
                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

M.A.,                                      )
                                           ) Civil Action No. 3:20-cv-05218
              Plaintiff,                   )
                                           )
v.                                         ) ORDER GRANTING AWARD OF
                                           )      ATTORNEYS’ FEES AND
Wall Township Board of Education,          )              EXPENSES
                                           )
              Defendant.
                                           )

        THIS MATTER having been opened to the Court on the motion of Plaintiff

M.A., by and through her attorneys, John rue & Associates, LLC (John D. Rue, Esq.,

appearing); and defendant Wall Township Board of Education, by and through its

attorneys having opposed the motion; and the Court having considered the papers in

support of and in opposition to the motion, and having considered the argument of

counsel, if any; and good cause having been shown;

     IT IS in the _____ day of ______________, 2022 ORDERED that:

     1. Plaintiff’s motion be, and the same hereby is, GRANTED; and

     2. Plaintiff is hereby awarded $164,810.25 in attorneys’ fees and $412.00 in

        expenses, for a total due of $165,222.25.

                                          _________________________________
                                          HON. FREDA L. WOLFSON, C.U.S.D.J.
